

People v Manuel (2022 NY Slip Op 04283)





People v Manuel


2022 NY Slip Op 04283


Decided on July 05, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 05, 2022

Before: Renwick, J.P., Oing, Moulton, Kennedy, Mendez, JJ. 


Ind. No. 3571/18 Appeal No. 16075 Case No. 2019-5234 

[*1]The People of the State of New York, Respondent,
vTremaine Manuel, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Samuel Claflin of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Nathan Shi of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered April 8, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the fifth degree, and sentencing him, as a second felony drug offender previously convicted of a violent felony offense, to a term of 2 ½ years, unanimously dismissed as moot.
This appeal, claiming excessiveness of sentence, is moot because defendant has completed all components of his sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 5, 2022








